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       Exhibit C
                               Case 1:19-cr-00395-BAH Document 16-3 Filed 03/09/20 Page 2 of 2

1IWWEKIW
i permalink : http://www.reddit.com/message/messages/1zlvle
     thread_id : 1zltw9


     date : 2014-06-21 09:22:46 UTC


     ip :


     from : gramsadmin


     to : /u/select1on


     subject : re: giving back to you..


     body : thanks


     id : 229rn9


     permalink : http://www.reddit.com/message/messages/229rn9


     thread_id : 229rn9


     date : 2014-07-12 16:33:49 UTC


     ip :


     from : gramsadmin


     to : /u/GreyHatThrowaway


     subject : penetration testing?


     body : Do you still do penetration testing? I am looking for someone to be my full time tester.


     id : 226u5y


     permalink : http://www.reddit.com/message/messages/226u5y


     thread_id : 220goa


     date : 2014-07-11 22:58:04 UTC


     ip :


     from : gramsadmin


     to : /u/TimBingham


     subject : re: Interview


     body : 1)I created grams because 90% of the darknet was behind blackmarket sites which required a login to view. This made it unsearchable by normal search engines. The only real way to get

     reliable information about these parts of the darknet was to read forums and subreddits. I wanted to make it easier for users to use the darknet. 2) Grams has made darknet information more

     accessible to normal users and because of it's publicity has brought a lot of new users to the darknet. I think it has also raised the bar for darknet sites. Before grams a lot of the sites we not very

     well designed or easy to use. I think Grams set a new standard for what a darknet site could be. I like to think of the Darknet as the internet reborn. It is going through the same stages the normal

     internet went through. At first no one knew how to find and get to sites on the internet so search engines like altavista were born. Even with the search engine there was not much content out there

     and user still didn't understand what a url was. AOL answered this with aol keywords. It was easy for users to just type a keyword like "Money" in and get to a page about finance. That is why I

     created Flow a darknet redirect service that allows users to type in "Flowwords" and be redirect to a site based on the keyword without knowing the url. The next stage is to make easy for regular

     users to create darknet sites. TOR is currently working on this and so am I. After that stage who knows what the darknet holds , maybe darknet bubble? 3)I have big plans for Grams future. I would

     like it to be the hub to the darknet the same way google is to the clearnet. I am hoping to add many services just like Google has. Encrypted email, online file sharing and storage, and a much better

     search engine that what I am currently offering. I would like to offer free hosting for blogs and small sites to help reporters and activist get their message out while remaining anonymous. Right now

     the Darknet is 90% drugs and illegal items for sale. I think most of these are great because these markets have brought down drug related violence ,but I think the Darknet can be much more. It can

     be a safe haven for people who want change but are afraid to speak because of governing laws or repercussions to themselves and/or their families. I hope Grams can help it grow into what it

     needs to be.


     id : 1x9zy4


     permalink : http://www.reddit.com/message/messages/1x9zy4


     thread_id : 1x9a6r
